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DISTRICT OF ARIZONA
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IN THE UNITED STATES DISTRICT COURT

United States of America,
Plaintiff,

VS.

Abdul Malik Abdul Kareem,

Defendant.

FOR THE DISTRICT OF ARIZONA

CR 15-00707-1-PHX-SRB

Juror Questions During Trial
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CR 15-707 PHX SRB
USA v. Kareem

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USA v. Kareem

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United States v. Kareem

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